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                                  EXHIBIT N
                                    Footnote 23
  Business Insider: “Moderna’s chief medical officer says that vaccine trial results
    only show that they prevent people from getting sick — not necessarily that
                 recipients won’t still be able to transmit the virus”
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                                              Chief Says There's         03/04/22
                                                                   yet Proof             PageID.121
                                                                             Vaccines Prevent Transmission Page 2 of 8




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    Moderna's chief medical officer says that vaccine trial results
    only show that they prevent people from getting sick — not
    necessarily that recipients won't still be able to transmit the
    virus

    Sarah Al-Arshani Nov 23, 2020, 10:45 PM

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    Lab tech Sendy Puerto processes blood samples from Moderna's coronavirus vaccine clinical trials study
    participants September 2, 2020 in Miami, Florida. Taimy Alvarez/AP



        Moderna Chief Medical Officer Tal Zaks told Axios that the public should not "over-
        H O M E PAthe
        interpret" G E vaccine trial results to assume life could go back to normal after
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         adults are vaccinated.
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                                                                   yet Proof             PageID.122
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         "They do not show that they prevent you from potentially carrying this virus
         transiently and infecting others," Zaks told Axios.


         While he believes, based on the science, that it's likely that vaccine does prevent
         transmission, but said there's still no solid proof of that yet.


         "I think it's important that we don't change behavior solely on the basis of
         vaccination," he said.


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    Moderna Chief Medical Officer Tal Zaks told Axios that the public should not "over-
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                                                                   yet Proof             PageID.123
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    interpret" the vaccine trial results to assume life could go back to normal after adults
    are vaccinated.


    Zaks warned that the trial results show that the vaccine can prevent someone from
    getting sick or "severely sick," from COVID-19, however, the results don't show that
    the vaccine prevents transmission of the virus.


    "They do not show that they prevent you from potentially carrying this virus
    transiently and infecting others," Zaks said in an interview for "Axios," the outlet's
    show on HBO.


    Zaks added: "When we start the deployment of this vaccine we will not have sufficient
    concrete data to prove that this vaccine reduces transmission."




    While he believes based on the science that it's likely that vaccine does prevent
    transmission, there's still no solid proof of that.


    "I think it's important that we don't change behavior solely on the basis of
       H O M E PA G
    vaccination,"   heEsaid.
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    Moderna's COVID-19 vaccine is one of three vaccines that have shown effectiveness
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    in trial results. The company said its vaccine is 94.5% effective at protecting people
    against COVID-19, the disease caused by the novel coronavirus.


    Moncef Slaoui, the head of Operation Warp Speed, the White House effort to develop
    and administer the vaccine, said on Sunday that the company will seek emergency
    use authorization from the Food and Drug Administration for its COVID-19 vaccine
    by the end of November.




    Pfizer who formulated another vaccine applied for FDA emergency authorization on
    Friday.


    On Monday, AstraZeneca and the University of Oxford also reported that their
    vaccine was effective towards COVID-19.


    There have been at least 12.4 million infections in the US so far with over 257,000
    deaths, according to data from Johns Hopkins University. Daily cases in the US
    repeatedly hit record highs in the weeks leading up to Thanksgiving, and many
    public experts have warned that this could be the deadliest wave of the virus in the
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    The headline of this article was updated to show that Moderna's coronavirus vaccine
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    can prevent people from getting sick.



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